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      DISTRICT COURT, CITY AND COUNTY DENVER,
      COLORADO
      Court Address: 1437 Bannock Street    DATE FILED: August 13, 2019 11:24 AM
                     Denver, Colorado 80202 FILING ID: 5E9CEBEF91D95
      Plaintiff(s):                         CASE NUMBER: 2019CV33099


      JOHN PAULSON, individually and on behalf of all others
      similarly situated

      Defendant(s):

      TWO RIVERS WATER AND FARMING COMPANY, a
      Colorado corporation;
      JOHN R. MCKOWEN, an individual;                                      COURT USE ONLY
      WAYNE HARDING, an individual; and
      TIMOTHY BEALL, an individual,


      Attorneys for Plaintiff:                                             Case Number:

       Name:            Steve A. Miller, Atty. Reg. # 8758
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                                              COMPLAINT


           Plaintiff John Paulson, on his behalf and as putative representative of Class members

    defined herein (“Plaintiff”), by and through undersigned counsel, alleges the following upon

    information and belief, except as to those allegations concerning Plaintiff, which are alleged

    upon personal knowledge. Plaintiff’s information and belief are based upon, among other things,


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    counsel’s investigation, which includes without limitation: (a) review and analysis of regulatory

    filings made by GrowCo, Inc. (“GrowCo”) and Two Rivers Water and Farming Company (“Two

    Rivers”) with the United States Securities and Exchange Commission (“SEC”); (b) review and

    analysis of press releases and media reports issued by and disseminated by GrowCo and Two

    Rivers, and the other Defendants; (c) media reports concerning GrowCo, Two Rivers, and the

    other Defendants; and (d) review of other publicly available information concerning GrowCo,

    Two Rivers, and the other Defendants.

           Plaintiff brings this class action under the Colorado Securities Act and Colorado common

    law on behalf of all persons or entities who purchased or otherwise acquired securities of

    GrowCo, a Colorado corporation, from January 2015 until March 2017 (the “Class Period”).


                                     JURISDICTION AND VENUE

           1.       The District Court, City and County of Denver has jurisdiction over these

    proceedings because the causes of action herein involve violations of Colorado statutory and

    common law. Defendant John R. McKowen is a resident of the City and County of Denver and

    the securities offerings at issue originated there.

           2.       Venue for this proceeding in the City and County of Denver is proper in the City

    and County of Denver pursuant to C.R.C.P. Rule 98(c).

                                                     PARTIES

           A.       Plaintiff

           3.       Plaintiff John Paulson (“Mr. Paulson”) is a natural person residing in Phelan,

    California. Mr. Paulson is an investor in GrowCo, and purchased securities in GrowCo, in

    reliance upon GrowCo’s Offering Documents as defined below, during the Class Period. Mr.



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    Paulson learned that he suffered losses as a result of his investment when GrowCo filed for

    bankruptcy.

              B.   Defendants

              4.   Defendant Two Rivers is a Colorado corporation with its principal place of

    business located at 3025 S. Parker Road, Suite 140, Aurora, Colorado. The business of Two

    Rivers began in the development of irrigated farmland, associated water rights, and

    infrastructure. In 2014 Two Rivers formed GrowCo, as a wholly owned subsidiary, to capitalize

    on Colorado’s burgeoning marijuana industry. Since 2016 the company has shifted its focus to

    monetizing its assets.

              5.   Defendant John R. McKowen (“McKowen”) is a natural person who served as

    Chief Executive Officer and/or otherwise was and acted as control person of both Two Rivers

    and GrowCo during the Class Period.

              6.   Defendant Wayne Harding (“Harding”) is a natural person who served as Chief

    Executive Officer and Chief Financial Officer and/or otherwise was and acted as control person

    of both Two Rivers and GrowCo during the Class Period.

              7.   Defendant Timothy Beall (“Beall”) is a natural person who served as Chief

    Operations Officer and/or otherwise was and acted as control person of GrowCo during the Class

    Period.

              8.   Collectively, Defendants McKowen and Harding, each acting in their respective

    capacity as a control person of Two Rivers, are referred to hereinafter as the “Two Rivers

    Individual Defendants.”

              9.   Collectively, Defendants McKowen, Harding, and Beall, each acting in their

    respective capacity as control persons of GrowCo, are referred to hereinafter as “the GrowCo


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    Individual Defendants.” The Two Rivers Individual Defendants and the GrowCo Individual

    Defendants are sometimes referred to as the “Individual Defendants.”

           10.     It is appropriate to treat the Two Rivers Individual Defendants and GrowCo

    Individual Defendants as respective groups for pleading purposes and to presume that the false,

    misleading, and incomplete information conveyed in the Offering Documents by each, as alleged

    herein, are the collective actions of each narrowly defined group of defendants identified above.

    Each of the above as officers and directors of their respective entities, and subsidiaries, and

    affiliates, by virtue of their positions, directly participated in the management of GrowCo, was

    directly involved in the operations of GrowCo at the highest levels, was privy to confidential

    proprietary information concerning GrowCo, and directed and played an instrumental role in the

    GrowCo securities offering at issue in this case.

           C.      Non-Defendant

           11.     GrowCo is a Colorado corporation with its principal place of business located at

    2000 S. Colorado Boulevard, Denver, Colorado. GrowCo was formed in 2014 as a wholly owned

    subsidiary of Two Rivers. GrowCo’s business consisted primarily of developing and leasing

    large-scale, computer-controlled greenhouses to marijuana growers. GrowCo is currently in

    bankruptcy and therefore cannot be made a party to this litigation.

           12.     GrowCo Partners 1, LLC (“GrowCo Partners 1”) is a Colorado limited liability

    company created on or about October 31, 2014 by Two Rivers.

           13.     GCP Super Units, LLC is a Colorado limited liability company created on or

    about September 25, 2015. It is owned by GrowCo and used to hold real estate assets.

                                                FACTS

           A.      Defendant McKowen Forms and Becomes A Control Person of Two
                   Rivers and GrowCo.
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           14.     On or about December 20, 2002 Defendant McKowen became CEO and Board

    Member of Navidec Financial Services, Inc. (“Navidec”), a Colorado corporation with its

    principal place of business located at 6399 South Fiddlers Green Circle, Suite 300, Greenwood

    Village, Colorado 80111. The stated purpose of Navidec was to capitalize on the market for

    mortgage lending.

           15.     On or about December 11, 2012 Navidec became Two Rivers. At the same time,

    Two Rivers refocused its business on acquiring and developing irrigated farmland, associated

    water rights, and infrastructure in the Arkansas river basin in southwestern Colorado.

           16.     On or about November 6, 2012 Colorado Amendment 64, a ballot initiative

    allowing for the recreational use of marijuana throughout the state, was passed.

           17.     On or about May of 2014, Two Rivers and Defendant McKowen formed

    GrowCo, as a wholly owned subsidiary of Two Rivers, in order to try and capitalize on

    burgeoning marijuana industry in Colorado.

           18.     At all relevant times, Two Rivers and the Two Rivers Individual Defendants,

    together with the GrowCo Individual Defendants, exercised complete control over the business

    and operations of GrowCo.

           19.     During the Class Period, each of the Two Rivers and GrowCo Individual

    Defendants, as control persons of Two Rivers and its subsidiaries and affiliates (including

    GrowCo), were privy to information concerning its business, finances, products, markets, present

    and future business prospects, as well as information regarding the backgrounds of its control

    persons, including Defendant McKowen.

           B.      Defendants Organize and Carry Out Securities Offerings for GrowCo.




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           20.     On or about May 11, 2015, GrowCo filed a Notice of Exempt Offering with the

    SEC, for a securities offering of $5 million in debt securities and warrants. Sales of securities in

    this offering by GrowCo and Defendants began on or about March 16, 2015.

           21.     On or about October 1, 2015, GrowCo filed a Notice of Exempt Offering with

    the SEC for a securities offering of over $4 million in stock and warrants. Sales of securities in

    this offering by GrowCo and Defendants began on or about July 29 2015.

           22.     On or about January 5, 2016, GrowCo filed a Notice of Exempt Offering with the

    SEC for a securities offering of $5,500,000 in stock and warrants. Sales of securities in this

    offering by GrowCo and Defendants began on or about October 8, 2015.

           23.     On or about September, 07, 2016, GrowCo amended its previous filing to change

    the acting CEO from Defendant McKowen to Defendant Harding.

           24.     On or about September, 07, 2016, GrowCo, filed a Notice of Exempt Offering

    with the SEC to offer $7 million in senior exchange notes due July 1, 2021. Sales of securities

    in this offering by GrowCo and Defendants began on or about March 16, 2016.

           25.     On or about March 9, 2017, GrowCo filed an amendment to the previous notice

    stating that the offering had been terminated as of March 9, 2017.

           26.     Taken together the securities offerings listed above constitute the “Securities

    Offerings” or the “Offerings.”

           27.     As part of the Securities Offerings, GrowCo and Defendants prepared and

    distributed to prospective investors documents including sales presentations, memoranda of

    terms, exchange note purchase agreements, exchange agreements, investor questionnaires, and

    other documents (“the Offering Documents”) which purported to make material disclosures to

    investors about GrowCo and the Securities Offerings.



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            28.    The purpose of the GrowCo Securities Offerings was to raise money from

    investors across the country to support the operations of Defendant Two Rivers, GrowCo, a

    GrowCo affiliate.

            29.    In their capacity of control persons of GrowCo, the Individual GrowCo

    Defendants, the Individual Two Rivers Defendants, and Defendant Two Rivers played a central

    role in organizing and carrying out the GrowCo Securities Offerings, preparing and distributing

    the Offering Documents, and selling the GrowCo securities directly to investors, including

    Plaintiff.

            C.     The Offering Documents Contain Material Omissions.

            30.    The GrowCo Securities Offerings’ Offering Documents contained material

    omissions regarding McKowen, the founder of GrowCo and Two Rivers and the key driving

    force behind the two entities and the Securities Offerings, as more fully detailed below.

            31.    Specifically, on or about July 22, 1986 a complaint was filed with the NASD

    against Defendant McKowen based on allegations that he violated securities laws, and his

    client’s trust, by engaging in a series of deceptive and fraudulent securities transactions (“the

    NASD Complaint”).

            32.    On February 9, 1987, the NASD rendered a decision fining, censoring, and

    suspending McKowen and his co-defendant until they repaid the amount of $513,041 which

    appear to have represented the damages that McKowen and his co-defendant caused their

    customer to suffer as a result of their misconduct.

            33.    On or about February 17, 1987, McKowen appealed the decision to NASD’s

    Board of Governors.




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           34.     On or about June 9, 1987, the NASD Board of Governors affirmed the decision

    and increased McKowen’s fine and suspension.

           35.     On or about July 8, 1987, McKowen appealed the NASD Board of Governors’

    decision to the SEC.

           36.     On or about August 20, 1987, the SEC affirmed the findings in the NASD

    Complaint on appeal and ordered McKowen sanctioned for his fraudulent sales of securities.

           37.     On or about August 23, 1990 Defendant McKowen ’s securities registration with

    the NASD was permanently revoked.

           38.     On or about January 25, 1995 Defendant McKowen filed for bankruptcy in

    United States Bankruptcy Court for the District of Colorado.

           39.     The Offering Documents provided to Plaintiffs as part of the Offerings omitted

    to disclose Defendant McKowen’s fraudulent securities sales, the revocation of his securities

    license, or his personal bankruptcy.

           40.     It would have been material – indeed crucial – to an investor evaluating whether

    to invest his or her money in McKowen’s businesses, GrowCo and/or Two Rivers, to know that

    McKowen had engaged in fraudulent securities sales, had caused substantial losses to his

    customers through such fraudulent sales, was sanctioned as a result, had his securities license

    revoked, and had filed for bankruptcy.

           D.      Defendants Failed to Disclose Material Information to Prospective
                   Investors.

           41.     Because of their Board membership and/or executive and managerial positions

    with Two Rivers and GrowCo, respectively, each of the Two Rivers Individual Defendants and

    GrowCo Individual Defendants, with the exception of Defendant McKowen and Defendant Two




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    Rivers, knew and/or had access to the adverse facts outlined above, while Defendants McKowen

    and Two Rivers (through McKowen) had actual knowledge of the adverse facts outlined above.

           42.      The Two Rivers Individual Defendants and the GrowCo Individual Defendants,

    along with Defendant Two Rivers, participated in the drafting, preparation, dissemination and/or

    approval of the Offering Documents described herein. They were aware of or recklessly

    disregarded the omissions therein and were aware of their materially false and misleading nature.

           43.      The Two Rivers Individual Defendants and GrowCo Individual Defendants had

    a duty to conduct adequate due diligence as to the information in the Offering Documents before

    offering and selling the GrowCo securities to investors and were reckless in offering and selling

    the GrowCo securities to investors without disclosing the facts outlined above surrounding

    Defendant McKowen’s background.

           44.      The Two Rivers Individual Defendants and GrowCo Individual Defendants,

    along with Defendant Two Rivers, because of their positions of control and authority as control

    persons of GrowCo, were able to and did control the content of the various securities filings,

    press releases, and other public statements pertaining to the Offerings, including the Offering

    Documents, during the Class Period.

           45.      Each of the Two Rivers Individual Defendants and GrowCo Individual

    Defendants, as well as Defendant Two Rivers, was provided with or had an opportunity to see

    copies of the Offering Documents, alleged herein to be misleading, prior to or shortly after their

    issuance and/or had the ability and/or opportunity to prevent their issuance or to cause them to

    be corrected.




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               46.   Accordingly, each of the Two Rivers Individual Defendants and GrowCo

     Individual Defendants is responsible for the accuracy of the Offering Documents and is a maker

     of the omissions detailed above.

               E.    Investors Purchase the Offerings in Reliance Upon Misleading
                     Offering Documents.

               47.   Plaintiff and the class members, as part of the solicitation by Defendant Two

     Rivers and Individual Two Rivers and GrowCo Defendants, were provided with the Offering

     Documents by Defendants.

               48.   Plaintiff and the class members reasonably relied on the information in the

     Offering Documents as they reviewed the Offerings and considered whether to invest.

               49.   On or about August 14, 2016 Mr. Paulson, relying on the Offering Documents,

     made his initial investment of $60,000 in The Offerings.

               50.   On or about September 30, 2016 Mr. Paulson, relying on the Offering Documents,

     made an additional investment of $140,000 in The Offerings.

               51.   On or about November 29, 2016 Mr. Paulson, relying on the Offering Documents,

     made his final investment of $57,000 in The Offerings.

               52.   Mr. Paulson and the class members purchased the GrowCo securities directly

     from GrowCo and the Defendants.

               53.   The securities purchased by Mr. Paulson included senior exchange notes and

     common stock purchase warrants which allowed for the purchase of units of GrowCo common

     stock at a purchase price of twenty-five cents per share, payable in cash.

               54.   Upon information and belief, funds received from the Offerings were

     immediately commingled with and passed through as capitalization for the operation of Two

     Rivers.

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            F.      GrowCo Files for Bankruptcy.

            55.     One or about January 21, 2019, GrowCo held a special meeting of the Board of

     Directors wherein Defendant McKowen announced that the company would file for voluntary

     bankruptcy under Chapter 11 of the United States Bankruptcy Code. Defendant McKowen, in

     his capacity as CEO, further resolved to appear in the proceedings and execute documents on

     behalf of GrowCo.

            56.     On or about January 24, 2019, GrowCo filed for Chapter 11 bankruptcy in United

     States Bankruptcy Court for the District of Colorado.

            57.     Plaintiff was notified of the bankruptcy because he is listed as a creditor in

     GrowCo’s bankruptcy filing.

            58.     Upon GrowCo’s bankruptcy filing, Plaintiff was injured because his investments

     in the Offerings became effectively worthless.

            59.     Upon being notified of GrowCo’s bankruptcy, Plaintiff was prompted to

     investigate the Offerings.

                          PLAINTIFF’S CLASS ACTION ALLEGATIONS

            60.     Plaintiff brings this action, for himself and on behalf of all others similarly

     situated, as a class action pursuant to C. R. C. P. Rule 23 (a) and (b)(3).


                                          CLASS DEFINITION

            61.     The Proposed Class is defined as follows: All persons and entities that purchased

     or otherwise acquired the Offerings during the Class Period and were damaged thereby.

            62.     Excluded from the class are: (1) Any of the Defendants, their agents or

     employees; (2) any judge or judicial officer who may hear any aspect of this case and his or her



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     law clerks; and (3) any person, firm, trust, corporation, or other entity related to or affiliated with

     any of the Defendants.


                                               NUMEROSITY

             63.     The members of the Proposed Class are so numerous and geographically

     dispersed that joinder of all members is impracticable. While the exact number of Proposed Class

     members remains unknown at this time, GrowCo’s bankruptcy schedules filed with the Court in

     its bankruptcy proceedings indicate there are approximately fifty members of the proposed class.

     The exact number investors in the Offerings is within the knowledge of Defendants.


                                                TYPICALITY

             64.     Plaintiff’s claims are typical of the claims of all Class members. Plaintiff is

     situated identically to all members of the Class with respect to the Offerings presented in this

     case, as Plaintiff and all members of the Class were investors in the Offerings and suffered the

     exact same loss (in proportion to the amount of their investment). The claims of Plaintiff are

     based on the same fundamental factual allegations and legal theories as the claims of all other

     members of the Class.

             65.     All investors in the Offerings, respectively, have been adversely affected by the

     wrongdoing of Defendants as described herein.


                                             COMMONALITY

             66.     There are common questions of law and fact in this class action that relate to and

     affect the rights of each member of the Class including, inter alia:

                    a. Whether Defendants failed to disclose the NASD Complaint, related

                        investigation, and sanctions for fraudulent securities transactions


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                       perpetrated by Defendant McKowen, as well as the underlying

                       fraudulent securities transactions and damages.

                   b. Whether Defendants failed to disclose that Defendant McKowen’s

                       securities license had been permanently revoked as a result of his

                       conduct.

                   c. Whether Defendants failed to disclose that Defendant McKowen had

                       declared bankruptcy.

                   d. Whether the omissions in the Offering Documents were material to

                       GrowCo investors.

                                               ADEQUACY

            67.     The representative parties and undersigned counsel will fairly and adequately

     protect the interests of the proposed class.

            68.     Plaintiff also satisfies Rule 23(b) of the Colorado Rules of Civil Procedure

     because the questions of law or fact common to the members of the proposed class predominate

     over any questions affecting only individual members, and a class action is superior to other

     available methods for the fair and efficient adjudication of the controversy.


                                                    CLAIMS
                                     FIRST CLAIM
                SALE OF SECURITIES IN VIOLATION OF C.R.S. 11-51-101 et seq.

            69.     Plaintiff repeats and realleges each of the allegations set forth above.

            70.     Defendants violated the provisions of the Colorado Securities Act (the “Act”),

     C.R.S. 11-51-101 et seq., by (1) offering and selling the unregistered GrowCo securities to

     Plaintiff and the putative class of GrowCo investors through material omissions.
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            71.     According to the Colorado Securities Act:

                    (1) It is unlawful for any person, in connection with the offer, sale,
                    or purchase of any security, directly or indirectly:
                    (a) To employ any device, scheme, or artifice to defraud;
                    (b) To make any untrue statement of a material fact or to omit to
                    state a material fact necessary in order to make the statements made,
                    in the light of the circumstances under which they are made, not
                    misleading; or
                    (c) To engage in any act, practice, or course of business which
                    operates or would operate as a fraud or deceit upon any person.

     C.R.S. 11-51-501.

            72.     The Colorado Securities Act sets forth the civil liability of sellers of securities

     through misrepresentations or omissions as follows:

                    (3) Any person who recklessly, knowingly, or with an intent to
                    defraud sells … a security in violation of section 11-51-501 (1) …
                    is liable to the person buying … such security … in connection with
                    the violation for such legal or equitable relief that the court deems
                    appropriate, including rescission, actual damages, interest at the
                    statutory rate, costs, and reasonable attorney fees.

                    (4) Any person who sells a security in violation of section 11-51-
                    501 (1)(b)(the buyer not knowing of the untruth or omission) and
                    who does not sustain the burden of proof that such person did not
                    know, and in the exercise of reasonable care could not have known,
                    of the untruth or omission is liable to the person buying the security
                    from such person, who may sue to recover the consideration paid for
                    the security, together with interest at the statutory rate from the date
                    of payment, costs, and reasonable attorney fees, less the amount of
                    any income received on the security, upon the tender of the security,
                    or is liable for damages if the buyer no longer owns the security.
                    Damages are deemed to be the amount that would be recoverable
                    upon a tender, less the value of the security when the buyer disposed
                    of it, and interest at the statutory rate from the date of disposition.

     C.R.S. 11-51-604 (3) and (4).

            73.     As alleged herein, Defendant Two Rivers, along with the GrowCo Individual

     Defendants and the Two Rivers Individual Defendants, offered and sold GrowCo securities to

     Plaintiff and the proposed class by means of their omissions to state material facts pertaining to

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     Defendant McKowen, necessary in order to make the statements made, in the light of the

     circumstances under which they were made, not misleading.

            74.     Defendants knowingly and/or recklessly sold the GrowCo securities to Plaintiff.

     More specifically, Defendants Two Rivers (through McKowen) and McKowen had actual

     knowledge of the material omissions in the Offering Documents, while the other Defendants had

     a duty to conduct adequate due diligence before offering and selling the GrowCo securities to

     Plaintiff and the class members, and were reckless in selling the GrowCo securities without

     disclosing the material facts outlined above about McKowen.

            75.     In the alternative, Defendants cannot sustain the burden of proof that they did not

     know, and in the exercise of reasonable care could not have known, about the material omissions

     outlined above.

            76.     The omissions about McKowen’s background – and in particular his fraud in

     connection with the sale of securities and his permanent ban from the securities industry – were

     certainly material to Plaintiff and prospective GrowCo investors, all of whom were reasonable

     to rely on such omissions to invest in GrowCo.

            77.     Defendant Two Rivers and Individual Two Rivers and GrowCo Defendants

     directly participated in the business and operations of GrowCo, including drafting, preparation

     and/or approval of the Offering Documents. They prepared securities filings, solicited sales,

     conducted presentations, and sought out prospective investors for the Offerings.

            78.     Defendant Two Rivers and Individual Two Rivers and GrowCo Defendants

     provided Plaintiff and the class members with the Offering Documents which omitted the

     material facts set forth above about Defendant McKowen, with the intent that Plaintiff and the




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     class members rely upon such Offering Documents and omissions to invest in GrowCo, and sold

     the GrowCo securities to Plaintiff.

              79.    As a direct and proximate result of Defendant Two Rivers and Individual Two

     Rivers and GrowCo Defendants’ material omissions, Plaintiff and the class members purchased

     GrowCo securities from Defendants and suffered losses.

              80.    Defendants are liable to Plaintiff and the class members for damages as set forth

     in the Act, as a result of their misconduct in an amount to be determined at the hearing of this

     case.

                                        TENDER OF SECURITIES

              81.    Plaintiff hereby gives notice to Defendant Two Rivers and Individual Two Rivers

     and GrowCo Defendants that he is rescinding his respective purchase of the Offerings and is

     tendering his GrowCo securities in exchange for:

              • The consideration paid by each Plaintiff or class member for his

                respective investment in the Offerings, plus

              • The interest thereon at the legal rate from the date of purchase, plus

              • Costs and attorneys’ fees, less

              • The amount, if any, of income received on such securities.

                                     SECOND CLAIM
             PROVIDING SUBSTANTIAL ASSISTANCE IN THE SALE OF SECURITIES
                   BY MEANS OF UNTRUE STATEMENTS OR OMISSIONS
                  IN VIOLATION OF C.R.S. 11-51-101 et seq. (in the alternative)

              82.    Plaintiff repeats and realleges each of the allegations set forth above.

              83.    GrowCo knowingly and/or recklessly offered and sold its securities through

     Plaintiff and the other class members through material omissions as more fully outlined above,




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     in violation of the Colorado Securities Act Section 11-51-501(1), and is thus liable under C.R.S.

     11-51-604(3) and (4).

            84.     Pursuant to the Colorado Securities Act,

                    (c) Any person who knows that another person liable under
                    subsection (3) or (4) of this section is engaged in conduct which
                    constitutes a violation of section 11-51-501 and who gives
                    substantial assistance to such conduct is jointly and severally liable
                    to the same extent as such other person.

     C.R.S. 11-51-604(5)(c).


            85.     Defendants knew that GrowCo was liable under CRD 11-51-604(3) and (4)

     because it was offering and selling securities to Plaintiff and the class members through material

     omissions.

            86.     Despite such knowledge, Defendants provided substantial assistance to

     GrowCo’s sales of GrowCo securities to Plaintiff and the class members, through their efforts in

     drafting, producing, reviewing, and/or disseminating to Plaintiff and the class members the

     Offering Documents that contained the omissions set forth above, and helping GrowCo sell

     GrowCo securities to Plaintiff and the class members through misrepresentations and omissions.

            87.     As a direct and proximate result of the knowing assistance provided by

     Defendants, Plaintiff invested in GrowCo securities and suffered losses.

            88.     Defendants are jointly and severally liable to Plaintiff and the class members to

     the same extent as GrowCo in connection with GrowCo’s securities sales.

                                 THIRD CLAIM
           CONTROL PERSON LIABILITY IN THE SALE OF SECURITIES
     BY MEANS OF UNTRUE STATEMENTS OR OMISSIONSIN VIOLATION OF C.R.S.
                        11-51-101 et seq. (in the alternative)

            89.     Plaintiff repeats and realleges each of the allegations set forth above.


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            90.     GrowCo knowingly and/or recklessly offered and sold its securities through

     Plaintiff and the other class members through material omissions as more fully outlined above,

     in violation of the Colorado Securities Act Section 11-51-501(1), and is thus liable under C.R.S.

     11-51-604(3) and (4).

            91.     Pursuant to the Colorado Securities Act,

                    (a) Every person who, directly or indirectly, controls a person liable
                    under subsection … (3) of this section is liable jointly and severally
                    with and to the same extent as such controlled person, unless the
                    controlling person sustains the burden of proof that such person did
                    not know, and in the exercise of reasonable care could not have
                    known, of the existence of the facts by reason of which the liability
                    is alleged to exist.

                    (b) Every person who, directly or indirectly, controls a person liable
                    under subsection (3) or (4) of this section is liable jointly and
                    severally with and to the same extent as such controlled person,
                    unless such controlling person sustains the burden of proof that such
                    person acted in good faith and did not, directly or indirectly, induce
                    the act or acts constituting the violation or cause of action.


     C.R.S. 11-51-604(5)(a) and (b).

            92.     A person is liable as a “control person” where he or she has the possession, direct

     or indirect, of the power to direct or cause the direction of the management or policies of a

     person, whether through the ownership of voting securities, by contract, or otherwise. Depending

     on the circumstances, a control person might include an employer, an officer or director, a large

     shareholder, a parent company, and a management company.

            93.     All Defendants were control persons of GrowCo. In that capacity, Defendants

     directed and controlled GrowCo’s misconduct alleged herein, and knew and/or should have

     known of such misconduct.




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            94.     Specifically, the GrowCo Individual Defendants were all officers and directors of

     GrowCo, and each directly or indirectly possessed the power to direct or cause the direction of

     the management or policies of GrowCo. Defendant Two Rivers was GrowCo’s corporate parent,

     shared the same management with GrowCo, and directed and controlled GrowCo and the

     Securities Offering through material omissions, as illustrated by the fact that investment

     proceeds from the GrowCo Securities Offering were intended to be transferred to, and used by,

     Two Rivers for its own business. Lastly, the Two Rivers Individual Defendants controlled both

     Two Rivers and its subsidiary, GrowCo, and directed and controlled its Securities Offering,

     which stood to benefit Two Rivers.

            95.     None of the Defendants can sustain the burden of proof that they did not know,

     and in the exercise of reasonable care could not have known, of the existence of the facts by

     reason of which the liability is alleged to exist, nor can they sustain the burden of proof that they

     acted in good faith and did not, directly or indirectly, induce the act or acts constituting the

     violation or cause of action.

            96.     Therefore, all Defendants are jointly and severally liable with GrowCo for

     GrowCo’s violation of the Colorado Securities Act.

                                         FOURTH CLAIM
                                     COMMON LAW NEGLIGENCE

            97.     Plaintiff repeats and realleges each of the allegations set forth above.

            98.     Defendant Two Rivers and Individual Two Rivers and GrowCo Defendants owed

     Plaintiff and the class members a duty of reasonable care in connection with their preparation of

     Offering Documents for the GrowCo Securities Offering for the use of Plaintiff and the class

     members, and their sales of GrowCo securities to Plaintiff and the class members.




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            99.       Defendant Two Rivers and Individual Two Rivers and GrowCo Defendants

     breached their duty by failing to disclose in the Offering Documents the material facts set forth

     above regarding Defendant McKowen.

            100.      As a direct and proximate result of Defendants’ breach of duty, Plaintiff and the

     class members have been damaged in an amount to be determined at the hearing of this case.

                                     FIFTH CLAIM
                      NEGLIGENT MISREPRESENTATIONS AND OMISSIONS

            101.      Plaintiff repeats and realleges each of the allegations set forth above.

            102.      Defendant Two Rivers and Individual Two Rivers and GrowCo Defendants are

     liable to Plaintiff because in the course of their business they supplied false information and

     failed to exercise reasonable care by making material misrepresentations and/or omissions to

     Plaintiff in the Offering Documents, in breach of the duties they owed Plaintiffs.

            103.      Defendant Two Rivers and Individual Two Rivers and GrowCo Defendants

     specifically omitted disclosure to Plaintiff and the class members of the following:

                  •   Defendant McKowen fraud in connection with the sale of securities and

                      the substantial damages caused by his misconduct;

                  •   Defendant McKowen’s investigation and sanctions by the federal

                      securities regulators arising out of his fraudulent securities transactions;

                  •   Defendant McKowen’s permanent ban from the securities industry and

                      loss of securities license as a result of his misconduct; and

                  •   Defendant McKowen’s bankruptcy.
            104.      Defendant Two Rivers and Individual Two Rivers and GrowCo Defendants

     benefitted from these transactions in the course of their business, because the funds from the

     Offerings were ultimately used for Two Rivers’ operating capital.


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            105.    Said omissions were material, and Defendants intended Plaintiff to rely on the

     material omissions in the Offering Documents to invest in GrowCo.

            106.    Plaintiff justifiably, and to their detriment, relied on the omissions in the Offering

     Documents to their detriment in deciding to invest in the Offerings.

            107.    As a direct and proximate result of Defendants’ negligent omissions, Plaintiff

     purchased securities in the Offerings and suffered losses.

            108.    Defendant Two Rivers and Individual Two Rivers and GrowCo Defendants are

     liable to Plaintiff for damages in an amount to be determined at the hearing of this case.

                                                  RELIEF

            WHEREFORE, Plaintiff, on his own behalf and on behalf of the Class, prays for

     judgment as follows:

            (a) Certifying this action as a class action pursuant to C. R. C. P. Rule 23(b)(3);

            (b) Certifying Plaintiff as class representative and appointing the undersigned counsel as

            class counsel;

            (c) Awarding rescission and/or rescissory damages against Defendants, in favor of

            Plaintiff and the members of the Class, including interest;

            (d) Awarding compensatory damages in favor of Plaintiff and the members of the Class

            against Defendants, in favor of Plaintiff and the members of the Class, including interest;

            (e) Awarding Plaintiffs his reasonable attorneys' fees and costs; and

            (f) Granting such other and further relief as the Court may deem just and proper.

                                             JURY DEMAND

            Plaintiff demands a trial by jury against Defendant Two Rivers and the Individual Two

     Rivers Defendants for all issues triable thereby.



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           Date: August 13, 2019       Respectfully submitted,


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                                         Counsel for Plaintiff and the Class




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      FORM 1.2. DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL
    PLEADING OF COMPLAINT, COUNTERCLAIM, CROSS-CLAIM          OR13,THIRD
                                              DATE FILED: August           PARTY
                                                                    2019 11:24 AM
    COMPLAINT AND JURY DEMAND                 FILING ID: 5E9CEBEF91D95
                                                                            CASE NUMBER: 2019CV33099
                                     Denver
     District Court ________________________ County, Colorado
     Court Address: 1437 Bannock Street
                          Denver CO 80202
     _____________________________________________________
     Plaintiff(s): JOHN   PAULSON, individually and on behalf of all others similarly
                   situated
     v.                TWO RIVERS WATER AND FARMING COMPANY, a Colorado
     Defendant(s): corporation;  JOHN R. MCKOWEN, an individual; WAYNE                            COURT USE ONLY 
                       HARDING, an individual; and TIMOTHY BEALL, an individual,

     Attorney or Party Without Attorney (Name and Address):                              Case Number:
      Steve A. Miller, 1625 Larimer Street, Suite 2906, Denver, CO 80202
    Phone Number: (303) 892-9933           E-mail: sampc01@gmail.com
    FAX Number: (303) 892-8925             Atty. Reg. #: 8758

        DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL PLEADING OF
     F                                COMPLAINT,     Division Courtroom
     E-mail:  COUNTERCLAIM, CROSS-CLAIM OR THIRD PARTY COMPLAINT
     FAX Number:           Atty. Reg.
                                  AND #: JURY DEMAND


    1. This cover sheet shall be filed with the initial pleading of a complaint, counterclaim, cross-
       claim or third party complaint in every district court civil (CV) case. It shall not be filed in
       Domestic Relations (DR), Probate (PR), Water (CW), Juvenile (JA, JR, JD, JV), or Mental
       Health (MH) cases. Failure to file this cover sheet is not a jurisdictional defect in the pleading
       but may result in a clerk’s show cause order requiring its filing.

    2. Simplified Procedure under C.R.C.P. 16.1 applies to this case unless (check one box below if
       this party asserts that C.R.C.P. 16.1 does not apply):

             This is a class action, forcible entry and detainer, Rule 106, Rule 120, or other similar
             expedited proceeding, or

             This party is seeking a monetary judgment against another party for more than
             $100,000.00, including any penalties or punitive damages, but excluding attorney fees,
             interest and costs, as supported by the following certification:

                  By my signature below and in compliance with C.R.C.P. 11, based upon information
                  reasonably available to me at this time, I certify that the value of this party’s claims
                  against one of the other parties is reasonably believed to exceed $100,000.”

        Or



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             Another party has previously filed a cover sheet stating that C.R.C.P. 16.1 does not apply
         to this case.

    3.      This party makes a Jury Demand at this time and pays the requisite fee. See C.R.C.P. 38.
         (Checking this box is optional.)

    Date: ____8/13/2019____________                     __________/s/ Steve A. Miller______
                                                         Signature of Party or Attorney for Party
    NOTICE
    This cover sheet must be served on all other parties along with the initial pleading of a
    complaint, counterclaim, cross-claim, or third party complaint.




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